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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AMGEN INC.,                                     )
                                                )
                      Plaintiff,                )
                                                )
              v.                                )   C.A. No. 16-853 (MSG)
                                                )   CONSOLIDATED
AMNEAL PHARMACEUTICALS LLC,                     )
et al.,                                         )
                                                )
                      Defendants.               )

                                   STIPULATION AND ORDER

       It is hereby stipulated by plaintiff Amgen Inc. and defendant Piramal Healthcare UK

Limited (“Piramal”), subject to the approval of the Court, that the scheduling order for the

Piramal damages case set forth in D.I. 499 is amended as follows:

       a.     Substantial completion of party document production by August 18, 2020;

       b.     Fact discovery, including, but not limited to, document discovery, interrogatories,

              depositions, and third-party discovery closes September 1, 2020;

       c.     Piramal shall serve its opening expert reports by September 15, 2020;

       d.     Amgen shall serve its responsive expert reports by October 6, 2020; and

       e.     Piramal shall serve its reply expert reports by October 16, 2020.

All other dates remain unchanged.
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MORRIS, NICHOLS, ARSHT & TUNNELL LLP           PHILLIPS MCLAUGHLIN & HALL, P.A.

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                                               Inc.
July 23, 2020




                                27th day of ________________,
                SO ORDERED this _____         July            2020.



                                                  /s/ Mitchell S. Goldberg
                                                 _____________________________
                                                 United States District Court Judge




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